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 8               IN THE UNITED STATES DISTRICT COURT
 9          FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11                                                     Case No. ED CV 19-1926 VBF (MRW)
        CINDY B., 1
12                                                     JUDGMENT
                             Plaintiff,
13
                   v.
14
        KILOLO KIJAKAZI,
15      Acting Commissioner of Social
        Security,
16
                             Defendant.
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18              It is the judgment of this Court that the decision of the
19     Administrative Law Judge is AFFIRMED. Judgment is hereby entered in
20     favor of Defendant.
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                                                         /s/ Valerie Baker Fairbank
23
       Date: September 30, 2021                    ___________________________________
24                                                 HON. VALERIE BAKER FAIRBANK
                                                   SENIOR U.S. DISTRICT JUDGE
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            1       Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and
27    the recommendation of the Committee on Court Administration and Case Management of the
28    Judicial Conference of the United States.
